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UNITED STATES DISTRICT COURT

Court
SOUTHERN DISTRICT OF TEXAS (plied Stree Oi es
BROWNSVILLE DIVISION FILED
JUL 3 0 2013
UNITED STATES OF AMERICA David J, Bradley, Clerk of Court
Vv.
JOSE LUIS ZUNIGA-HERNANDEZ
aka: Wicho, Commandante Wicho
and XW 72 CO
= wk yy = \ 3 Ed

Criminal Number #

ARMANDO ARIZMENDI-HERNANDEZ
aka: Mando, XW-2 and

Commandante Mando

LUIS IVAN NINO-DUENES

aka: Machin and XW-13

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Paral, Unsesied 41113

SEALED
INDICTMENT

THE GRAND JURY CHARGES:
COUNT ONE
From at least in or about January 2002 to on or about up to and including the date
of this indictment, in the Southern District of Texas and elsewhere within the jurisdiction of
the Court,

JOSE LUIS ZUNIGA-HERNANDEZ
aka: Wicho, Commandante Wicho and XW

ARMANDO ARIZMENDI-HERNANDEZ
aka: Mando, XW-2 and Commandante Mando
LUIS IVAN NINO-DUENES
aka: Machin and XW-13

 
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defendants herein, did knowingly and intentionally conspire and agree together and with
persons known and unknown to the grand jury, to possess with intent to distribute
controlled substances. The overall scope of the conspiracy involved 5 kilograms or more
of a mixture and substance containing a detectable amount of cocaine, a Schedule II
controlled substance, and 1,000 kilograms or more of a mixture and substance containing
a detectable amount of marijuana, a Schedule | controlled substance.

In violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(A).

COUNT TWO
From at least in or about January 2002 to on or about up to and including the date
of this indictment, in the Southern District of Texas and elsewhere within the jurisdiction of
the Court,

JOSE LUIS ZUNIGA-HERNANDEZ
aka: Wicho, Commandante Wicho and XW

ARMANDO ARIZMEND!-HERNANDEZ
aka: Mando, XW-2 and Commandante Mando
LUIS IVAN NINO-DUENES
aka: Machin and XW-13

defendants herein, did knowingly and intentionally conspire and agree together and with
persons known and unknown to the grand jury, to import into the United States from the
United Mexican States controlled substances. The overall scope of the conspiracy
involved 5 kilograms or more of a mixture and substance containing a detectable amount
of cocaine, a Schedule I! controlled substance, and 1,000 kilograms or more of a mixture
and substance containing a detectable amount of marijuana, a Schedule {| controlled

substance.

 

 
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In violation of Title 21, United States Code, Sections 952(a), 960(a)(1) and (b)(1),

and 963.
NOTICE OF CRIMINAL FORFEITURE
Pursuant to 21 U.S.C. § 853(a), the United States gives notice to the defendants:

JOSE LUIS ZUNIGA-HERNANDEZ
aka: Wicho, Commandante Wicho and XW

ARMANDO ARIZMENDI!-HERNANDEZ
aka: Mando, XW-2 and Commandante Mando
LUIS IVAN NINO-DUENES
aka: Machin and XW-13

that upon conviction of a conspiracy in violation of 21 U.S.C. § Sections 846, 841(a)(1) and
841(b)(1)(A) as alleged in Count 1, and a violation of 21 U.S.C. § 952(a), 960(a)(1) and
(b)(1), and 963, as alleged in Count 2, the following property, whether real or personal, is
subject to forfeiture:

(1) all property constituting or derived from any proceeds obtained directly or

indirectly as the result of such offenses, and

(2) all property used or intended to be used in any manner or part to commit or to

facilitate the commission of such offenses;

The property subject to forfeiture includes, but is not limited to the following property:

Approximately $250,000,000.00 in United States currency.
Defendant is notified that a money judgment may be imposed equal to the value of the
property subject to forfeiture.

Substitute Assets

Defendants are notified that in the event the property subject to forfeiture, as a

result of any act or omission of the defendant:

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(1) cannot be located upon exercise of due diligence,

(2) has been placed beyond the jurisdiction of the Court,

(3) has been transferred to, sold to, or deposited with a third party,

(4) has been substantially diminished in value, or

(5) has been commingled with other property which cannot be divided without

difficulty,
the United States will seek to forfeit any other property of the defendant up to the value
of the property subject to forfeiture, pursuant to Title 21 United States Code, Section
853(p).

A TRUE BILL:

FOREPERSON OF THE GRAND JURY
KENNETH MAGIDSON

UNITED "f ES ATTORNEY
‘ Atm Fork:
ANGEL CASTRO

Assistant United States Attorney

 

 
